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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

 NUWAY ALLIANCE et al.,
                                                     Civil No. 25-492 (JRT/ECW)
                                Plaintiffs,

 v.
                                               MEMORANDUM OPINION AND ORDER
 SHIREEN GANDHI, Minnesota Department           DENYING MOTION FOR TEMPORARY
 of Human Services Temporary                  RESTRAINING ORDER AND PRELIMINARY
 Commissioner in her official capacity,                   INJUNCTION

                                Defendant.


      Manda M. Sertich and Rachel Dougherty, FREDRIKSON & BYRON, 60 South
      Sixth Street, Suite 1500, Minneapolis, MN 55402, for Plaintiffs.

      Benjamin C. Johnson and Scott H. Ikeda, MINNESOTA ATTORNEY
      GENERAL’S OFFICE, 445 Minnesota Street, Suite 1400, St. Paul, MN 55101,
      for Defendant.


      For years, Plaintiff NUWAY Alliance and its related entities (collectively “NUWAY”)

have provided co-occurring substance use disorder and mental health treatment to

Minnesotans. NUWAY receives most of its funds through Medicaid reimbursements

administered by the Minnesota Department of Human Services (“DHS”). NUWAY brings

this action under 42 U.S.C. § 1983 against Defendant Shireen Gandhi, Temporary

Commissioner of the Minnesota DHS, in her official capacity to stop DHS from effectuating

“temporary payment withholds” of Medicaid reimbursement funds based on a “credible

allegation of fraud” against NUWAY that is being investigated by the U.S. Department of
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Justice (“DOJ”). NUWAY primarily argues that DHS violated NUWAY’s procedural due

process rights by failing to provide a contested case hearing wherein NUWAY could

challenge the temporary payment withholds. NUWAY moves for a temporary restraining

order (“TRO”) and a preliminary injunction. Because the Dataphase factors favor the

State, the Court will deny the motion for a TRO and a preliminary injunction.

                                       BACKGROUND

I.     FACTS

       NUWAY is one of the largest providers of co-occurring substance use disorder and

mental health treatment in Minnesota. (Decl. of Kenneth L. Roberts ¶ 3, Feb. 8, 2025,

Docket No. 9.) In 2014, NUWAY created the Recovery in Supportive Environments

(“RISE”) program, which pairs intensive outpatient treatment with safe housing. (Id. ¶ 7.)

The purpose of RISE is to fill a gap in extended care services for individuals immediately

following their discharge from high-intensity residential treatment centers. (Id. ¶¶ 6–8,

15–16.)   Individuals who participate in RISE must meet certain clinical thresholds,

including the identification of risk or vulnerability in the client recovery environment. (Id.

¶ 10.) The RISE program has been effective, with one University of Minnesota study

finding that NUWAY intensive outpatient clients were 20 percent more likely to complete

treatment if they participated in RISE, and that participants in recovery housing spent 37

more days in treatment than those not in recovery housing. (Id. ¶ 13.)

       RISE partners with independent, abstinence-based recovery residences to house

clients during the period of intensive outpatient treatment and for a period of 30 days
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after the successful conclusion of treatment. (Id. ¶¶ 9–10.) NUWAY originally paid

recovery residences a stipend of $550 per month to house RISE clients; as of July 2023,

the stipend was adjusted to $700 per month. (Id. ¶ 10.)

        NUWAY operates intensive outpatient programs in seven locations across six

counties in Minnesota. (Id. ¶ 12.) In 2024, NUWAY provided intensive outpatient

treatment to thousands of clients, the resounding majority of which participated in RISE.

(Id.)   Currently, NUWAY serves 800 clients in intensive treatment, 84% of which

participate in RISE. (Id.) NUWAY also operates a group of smaller residential inpatient

treatment programs, which currently serve over 200 clients in five locations. (Id. ¶ 14.)

        As an enrolled substance use disorder services provider with Minnesota Health

Care Programs (“MHCP”), NUWAY receives Medicaid-supported reimbursements from

MHCP for the services it provides to clients. (Id. ¶ 4.) Approximately 66% of NUWAY’s

revenue is generated through its outpatient treatment program, and more than 90% of

those revenues are from Medicaid-supported payors.            (Id. ¶ 5.)   NUWAY seeks

approximately $2.8 million from Medicaid each month. (Decl. of Amanda Novak (“Novak

Decl.”) ¶¶ 17–18, Feb. 15, 2025, Docket No. 23.)

        On April 1, 2022, NUWAY received a Civil Investigative Demand from the U.S.

Attorney’s Office for the District of Minnesota (DOJ) related to a False Claims Act

investigation. (Decl. of David M. Glaser (“Glaser Decl.”) ¶ 2, Feb. 8, 2025, Docket No. 8.)

The investigation focused on various issues, including whether NUWAY’s provision of


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housing in exchange for agreeing to receive outpatient treatment constituted an illegal

kickback to patients and whether NUWAY was billing for the proper number of units when

submitting claims. (Id. ¶ 6.) On the billing matter, because NUWAY believed that it could

bill Medicaid for a one-hour unit of service any time a treatment session lasted at least

31 continuous minutes, NUWAY would often schedule its sessions for periods of less than

an hour (such as 35-minute sessions) and then begin another session of less than an hour.

(Id. ¶¶ 11–22.) In other words, in a period of 70 minutes, NUWAY would schedule two

35-minute sessions and then bill Medicaid for two one-hour units of service.

      In January 2024, the DOJ notified DHS of its fraud investigation against NUWAY and

informed that “the allegations of fraud against Nuway are credible and bear indicia of

reliability.” (Novak Decl. ¶ 2.) Based on information from the DOJ and its own review,

DHS determined there was a credible allegation of fraud against NUWAY, such that

Medicaid payments to NUWAY should be temporarily suspended. (Id. ¶ 3.)

      On February 29, 2024, DHS issued Notices of Payment Withhold (“Notices”) to nine

NUWAY clinics that provide intensive outpatient treatment. (Glaser Decl. ¶ 3.) The

Notices stated that DHS would temporarily withhold all MHCP payments to NUWAY

effective April 1, 2024, because there is “a credible allegation of fraud for which an

investigation is pending.” (Id. Ex. A.) More specifically, the letters stated that DHS had

information that NUWAY (1) billed for services not provided as billed, (2) improperly

induced services through the use of illegal kickbacks, (3) failed to return overpayments,


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(4) submitted claims for which it was not entitled to reimbursement, and (5) failed to

document services in compliance with the legal requirements. (Id.) The Notices informed

that Medicaid payments would be withheld from NUWAY until DHS or a prosecuting

authority determines there is insufficient evidence of fraud, or until legal proceedings

related to the alleged fraud are completed. (Id.) The Notices also notified NUWAY of its

right to submit written evidence to DHS explaining why the Medicaid reimbursements

should not be withheld. (Id.)

       In March 2024, NUWAY attempted to get more information regarding the basis for

the Notices, such as whether the Notices were related to the DOJ investigation, but DHS

explained that the Notices comply with state and federal law, which only require DHS to

set forth general allegations as to the withholding action and not disclose any specific

information regarding an ongoing investigation. (Id. Ex. B.) NUWAY submitted written

evidence to DHS outlining why there was no credible allegation of fraud and why good

cause existed to refrain from suspending payments. (Id. Ex. C.)

       DHS extended the effective date of the payment withholds several times over the

next year. (Id. ¶¶ 7–8.) The extensions were meant to give DHS time to complete its

review of the written evidence that NUWAY had submitted and to give NUWAY time to

provide notice to clients and facilitate their transition to providers, should DHS determine

that the temporary payment withholds must remain in place. (E.g., id. Ex. D at 2.) In early




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February 2025, DHS communicated that it would begin withholding Medicaid payments

effective February 21, 2025, and that no more extensions would be provided. (Id. Ex. E.)

II.    PROCEDURAL HISTORY

       NUWAY filed this action on February 7, 2025. (Compl., Docket No. 1.) The

Complaint asserts three causes of action: (1) a § 1983 claim alleging that DHS violated

NUWAY’s constitutional right to due process under the Fourteenth Amendment, (2) a

§ 1983 claim alleging that DHS violated NUWAY’s federal right under the Medicaid Act

and its implementing regulations, and (3) a claim for a declaratory judgment.

       NUWAY filed a motion for TRO and preliminary injunction on February 8, 2025.

(Pls.’ Mot. TRO & Prelim. Inj., Docket No. 6.) NUWAY seeks an order (1) declaring that the

temporary withhold without providing an opportunity for a hearing violates federal and

state statutes and NUWAY’s constitutional right to due process, (2) requiring DHS to

provide a contested case hearing, including any appeal rights, during which NUWAY can

challenge the Notices, and (3) enjoining DHS from withholding reimbursement payments

for substance use disorder treatment services from NUWAY. DHS opposes the motion.

                                       DISCUSSION

I.     STANDARD OF REVIEW

       Courts evaluating a motion for a temporary restraining order or preliminary

injunction weigh four factors, commonly referred to in the Eighth Circuit as the Dataphase

factors: (1) the movant’s likelihood of success on the merits, (2) the threat of irreparable

harm to the movant in the absence of relief, (3) the balance between that harm and the

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harm injunctive relief would cause to the other litigants, and (4) the public interest.

Rodgers v. Bryant, 942 F.3d 451, 455 (8th Cir. 2019) (citing Dataphase Sys., Inc. v. C L Sys.,

Inc., 640 F.2d 109, 113 (8th Cir. 1981) (en banc)); S.B. McLaughlin & Co., Ltd. v. Tudor Oaks

Condo. Project, 877 F.2d 707, 708 (8th Cir. 1989). The party seeking injunctive relief bears

the burden of proving the Dataphase factors. Watkins Inc. v. Lewis, 346 F.3d 841, 844 (8th

Cir. 2003).

       When applying these factors, “a court should flexibly weigh the case’s particular

circumstances to determine whether the balance of equities so favors the movant that

justice requires the court to intervene.” Hubbard Feeds, Inc. v. Animal Feed Supplement,

Inc., 182 F.3d 598, 601 (8th Cir. 1999) (quoting United Indus. Corp. v. Clorox Co., 140 F.3d

1175, 1179 (8th Cir. 1998)). That said, “injunctive relief is an extraordinary remedy and

the movant has the burden of establishing the propriety of an injunction.” Watts v. Fed.

Home Loan Mortg. Corp., No. 12-692, 2012 WL 1901304, at *3 (D. Minn. May 25, 2012).

II.    LIKELIHOOD OF SUCCESS ON THE MERITS

       Showing likelihood of success on the merits does not require “a mathematical

(greater than fifty percent) probability of success on the merits.” Heartland Acad. Cmty.

Church v. Waddle, 335 F.3d 684, 690 (8th Cir. 2003). Rather, the movant needs to show

that it has a “fair chance of prevailing.” Id.

       NUWAY alleges that DHS violated its right to due process under the Fourteenth

Amendment. The Fourteenth Amendment protects against governmental deprivations

of “life, liberty, or property” without due process of law. U.S. Const. amend. XIV. To state
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a procedural due process claim, a plaintiff must establish that it was deprived of a

protected liberty or property interest and that the procedures followed by the

government were constitutionally insufficient. Swarthout v. Cooke, 562 U.S. 216, 219

(2011).

       A.     Protected Interest

       The primary issue is whether NUWAY has a protected interest at stake. Beaulieu

v. Ludeman, 690 F.3d 1017, 1047 (8th Cir. 2012) (stating that without a protected liberty

or property interest a procedural due process claim fails). To have a protected property

interest in a benefit, a litigant must have more than an “abstract need or desire” or a

“unilateral expectation” of it; rather, he must have a “legitimate claim of entitlement.”

Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 577 (1972). Property interests arise

from “existing rules or understandings that stem from an independent source such as

state law.” Id. Here, NUWAY asserts that Minnesota law provides it with a property

interest in uninterrupted Medicaid reimbursements generally and a protected interest in

the State acting according to specific statutes and regulations.

              1.     Uninterrupted Medicaid Reimbursements

       Because Medicaid is a cooperative federal-state program, both federal and state

law are relevant to its administration. Nw. Bank of N.D., N.A. v. Doth, 159 F.3d 328, 331

(8th Cir. 1998). Under the federal Medicaid regulations, DHS “must suspend all Medicaid

payments to a provider after the agency determines there is a credible allegation of fraud

for which an investigation is pending . . . unless the agency has good cause to not suspend
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payments or to suspend payment only in part.” 42 C.F.R. § 455.23(a)(1). Under the

federal regulations, DHS need not provide notice to the provider of its intention to

suspend such payments before doing so. Id. § 455.23(a)(2). Such suspensions must be

“temporary,” though that term is not defined, and may not continue after a

determination that there is insufficient evidence of fraud or after the legal proceedings

related to the alleged fraud are completed. Id. § 455.23(c). “A provider may request, and

must be granted, administrative review where State law so requires.” Id. § 455.23(a)(3).

       Courts are split on whether providers have a protected property interest in

payments from federal healthcare programs like Medicaid. The Fourth Circuit, which

NUWAY relies upon, recognizes a property interest in a provider’s expectation of

continued participation in federal healthcare programs like Medicare and Medicaid. See

Ram v. Heckler, 792 F.2d 444, 447 (4th Cir. 1986). But many jurisdictions do not recognize

such a property right, as providers are not the intended beneficiaries of the medical

programs. See Erickson v. U.S. ex rel. Dep’t of Health & Hum. Servs., 67 F.3d 858, 862 (9th

Cir. 1995); Kelly Kare, Ltd. v. O’Rourke, 930 F.2d 170, 175–76 (2d Cir. 1991). In fact, courts

have rejected the argument that a provider has a property interest in Medicaid payments

that are withheld pending a fraud investigation. Personal Care Prods., Inc. v. Hawkins,

635 F.3d 155, 159 (5th Cir. 2011); Guzman v. Shewry, 552 F.3d 941, 953 (9th Cir. 2009).

Though the Eighth Circuit has not directly commented on this issue, in an unpublished

opinion the Minnesota Court of Appeals declined to recognize a provider’s property right


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in Medicaid payments pending a credible fraud investigation. See Shire v. Harpstead, No.

19-0807, 2019 WL 7287088, at *4 (Minn. Ct. App. Dec. 30, 2019).

       NUWAY insists that under federal and state laws a provider has a constitutionally

protected interest in Medicaid reimbursements based on certain requirements that DHS

must follow before suspending payments based on a credible allegation of fraud.

NUWAY’s primary argument is that Minnesota law requires that providers be afforded a

contested case proceeding under such circumstances.              Under Minnesota law, a

suspension or withholding of payments constitutes a “sanction.” Minn. Stat. § 256B.064,

subd. 1b. The law states that “[e]xcept as provided in paragraphs (b) and (d), neither a

monetary recovery nor a sanction will be imposed by the commissioner without prior

notice and an opportunity for a hearing.” Id. § 256B.064, subd. 2(a). Paragraph (b)

explains that payments “shall” be withheld or reduced “without providing advance

notice” if “there is a credible allegation of fraud.” Id. § 256B.064, subd. 2(b)(2). NUWAY

argues that paragraph (b) only qualifies the notice element; in other words, regardless of

when notice is issued, if there is a credible allegation of fraud, a provider is entitled to a

contested case proceeding. See id. § 256B.064, subd. 2(f) (“Upon receipt of a notice under

paragraph (a) that a monetary recovery or sanction is to be imposed, an individual or

entity may request a contested case.”).

       The Court respectfully disagrees. Though the above authorities may not have

explicitly reviewed whether a provider has a property interest in Medicaid


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reimbursements based on a contested case proceeding requirement under Minnesota

law, their analyses and overarching conclusion that a provider has no property interest in

the continued participation in Medicaid is persuasive. A provider’s participation in the

program is voluntary, and providers are not the intended beneficiaries of federal medical

programs. Furthermore, federal and state laws require DHS to temporarily suspend

Medicaid payments based on a credible allegation of fraud, and while it is not entirely

clear, the most natural reading of the Minnesota law does not require a contested case

proceeding under such circumstances. The federal Medicaid regulations themselves do

not explicitly require a contested case proceeding, and Minnesota law appears to except

suspensions of payments based on credible allegations of fraud from the prior notice and

opportunity for a hearing requirement. The right to a contested case proceeding upon

which NUWAY relies is predicated on the provider receiving notice under paragraph (a),

but the circumstances relevant to this case arise under paragraph (b), which outlines that

DHS can withhold or reduce payments without advance notice if there is a credible

allegation of fraud.   See id. § 256B.064, subd. 2(a)–(b).     The separation of these

subdivisions is meaningful. NUWAY’s proposed reading would require a pre-suspension

hearing even though prior notice is not required. Such a reading would make little sense.

A fairer process would involve a contested case proceeding before suspension of

Medicaid payments, but it is not explicitly mandated by the State.




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       Alternatively, NUWAY argues that Minnesota’s statute regarding the suspension

of Medicaid payments is unconstitutional because it does not provide a right to a hearing

under such circumstances. But the Court fails to see how the statute could run afoul of

the Constitution, especially where courts have found that providers do not have a

protected interest in Medicaid reimbursements under these circumstances, such that due

process does not mandate a hearing. E.g., Personal Care Prods., 635 F.3d at 159; Guzman,

552 F.3d at 953; Shire, 2019 WL 7287088, at *4–5.

       The Court finds that NUWAY does not have a general protected interest in

uninterrupted Medicaid reimbursements.

              2.     Acting Contrary to Statutes and Regulations

       NUWAY’s remaining arguments similarly fail to establish that it has a protected

property interest. NUWAY asserts that additional requirements that DHS must follow

before implementing temporary payment withholds of Medicaid reimbursements create

a protected property interest in those reimbursement payments. But such requirements

do not implicate a protected interest; nor is the Court convinced NUWAY has established

such requirements were not met in this case, anyway.

       NUWAY first argues that payment withholds must be “temporary,” yet here the

Notices will effectively impose indefinite payment withholds. See 42 C.F.R. § 455.23(c)(1).

The statutes do not define the term temporary. Instead, they require that payment

withholds end either when there is a determination that there is insufficient evidence of

fraud or when the legal proceedings related to the alleged fraud are completed. 42 C.F.R.
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§ 455.23(c). NUWAY contends that even though the Notices state that the payment

withholds will be “temporary,” that is a fiction. (See Glaser Decl. Ex. A.) NUWAY relies on

an unpublished opinion from the Northern District of Illinois, where a physician brought

a § 1983 action against a state official for suspending her Medicaid payments for up to

three years without providing her a hearing. Alexandre v. Ill. Dep’t of Healthcare & Fam.

Servs., No. 20-6745, 2021 WL 4206792, at *4 (N.D. Ill. Sept. 15, 2021). The court noted

that while a provider generally has no property interest in Medicaid funds that are

withheld pending an investigation of alleged fraud, the government may not withhold

funds from a provider indefinitely without a hearing. Id. at *7. Finding the year-and-a-

half suspension could have crossed the line from “temporary to indefinite,” the court

found an adequate allegation of a property interest in withheld payments. Id. at *9.

       While the Alexandre court commented on what temporary could mean under

similar circumstances, in that case the suspension had already occurred, and the court

determined that the year-and-a-half suspension could be impermissibly indefinite under

Illinois law, which sets a 3-year maximum limit on the time during which payments may

be withheld. Id. at *7–9. Here, however, the payments were not yet withheld, and

Minnesota law does not set a maximum limit on the time during which payments may be

withheld. NUWAY’s bare assertion that the payments are going to be “indefinite”

because DHS and DOJ have not specified when the fraud investigation will be completed




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is merely speculative and insufficient to justify finding a property interest—at least at this

point in time.

       Instead, this case is more akin to Clarinda Home Health v. Shalala, where the Eighth

Circuit held that, under federal law, a Medicare provider has no due process right to a

hearing on a temporary suspension of Medicare payments during an ongoing

investigation for fraud and misrepresentation. 100 F.3d 526, 531 (8 th Cir. 1996). The

Eighth Circuit found that “[t]he private interest that will be affected by a temporary

withholding of Medicare payments is not as serious in nature as an exclusion from the

Medicare program.” Id. Similarly, here the issue concerns the temporary withholding of

Medicaid payments, and not the exclusion of a provider in the Medicare program entirely.

Given that Medicare and Medicaid are cooperative federal-state programs under the

Social Security Act, the Court finds that Clarinda’s principles from the Medicare context

apply to this case in the Medicaid context, too.

       Next, NUWAY argues that DHS must consider whether good cause exists to not

withhold payments but failed to engage in such analysis despite NUWAY’s large and

important role in providing substance use disorder treatment across Minnesota. A State

may find that “good cause” exists to not withhold Medicaid payments to a provider

against which there is a credible allegation of fraud if, among other things,

                 beneficiary access to items or services would be jeopardized
                 by a payment suspension because of either of the following:




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              (i) An individual or entity is the sole community physician or
              the sole source of essential specialized services in a
              community.
              (ii) The individual or entity serves a large number of
              beneficiaries within a HRSA–designated medically
              underserved area.

42 C.F.R. § 455.23(e)(4). NUWAY claims that if it loses Medicaid funding, it will effectively

be forced to close its doors, which will have a devastating impact on patients who rely on

NUWAY for substance use disorder treatment and housing. See Trinity Behav. Health Care

Sys., Inc. v. Ark. Dep’t of Hum. Servs., No. 14-651, 2014 WL 5817095 (E.D. Ark. Nov. 7,

2014) (granting TRO against suspension of Medicaid payments to provider because of

threat of irreparable harm to patients). However, DHS explained in its correspondence

to NUWAY that there was no good cause to refrain from withholding payments any longer

given the pending allegation of fraud. NUWAY had submitted written evidence arguing

why good cause existed, but DHS rejected that contention. To be sure, NUWAY’s possible

closure upon the suspension of Medicaid payments could have tremendous impact on

NUWAY’s patients. (See, e.g., Sealed Decl. of N.S. (“N.S. Decl.”) ¶¶ 9–14, Feb. 8, 2025,

Docket No. 10.) But NUWAY’s disagreement with DHS’s conclusion does not mean DHS

failed to consider whether good cause exists.

       Relatedly, NUWAY argues DHS must consider certain statutory factors before

imposing payment suspensions, which DHS failed to do.             In suspending Medicaid

payments, Minnesota law requires the commissioner to consider the “nature, chronicity,

or severity of the conduct and effect of the conduct on the health and safety of persons

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served by the individual or entity.” Minn. Stat. § 256B.064, subd. 1b. Similar to the good

cause issue, NUWAY’s disagreement with DHS’s evaluation of the situation in light of the

pending credible allegation of fraud is insufficient to demonstrate that DHS failed to

consider these factors.

       Finally, NUWAY challenges whether there is a credible allegation of fraud.

Minnesota law instructs that:

              Allegations are considered credible when they have an
              indicium of reliability and the state agency has reviewed all
              allegations, facts, and evidence carefully and acts judiciously
              on a case-by-case basis. A credible allegation of fraud is an
              allegation which has been verified by the state, from any
              source, including but not limited to:

              (i) fraud hotline complaints;
              (ii) claims data mining; and
              (iii) patterns identified through provider audits, civil false
              claims cases, and law enforcement investigations.

Minn. Stat. § 256B.064, subd. 2(b)(2); see also 42 C.F.R. § 455.2 (providing similar

definition of “credible allegation of fraud”). Based on information from the DOJ and DHS’s

own review, DHS determined there was a credible allegation of fraud against NUWAY,

such that Medicaid payments to NUWAY should be suspended. The Court finds this is

sufficient to satisfy the statutory requirements that trigger DHS’s ability to withdraw or

suspend Medicaid payments based on a credible allegation of fraud. Despite NUWAY’s

efforts, this action is the incorrect forum for NUWAY to argue the merits of the fraud

allegation.


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       In sum, the Court finds that NUWAY has no protected interest at stake. Though a

fairer process would involve a contested case proceeding before the suspension of

Medicaid reimbursement payments, the natural reading of the Minnesota law does not

mandate such a proceeding. The Court also does not find that the other statutory

requirements DHS must follow create a protected property interest—let alone were not

met in this case—especially considering the many jurisdictions that have held that

providers have no protected property interest in continued participation in Medicaid.

       B.     Sufficient Procedures

       Once a litigant has established that it has a protected interest, the next inquiry is

whether the process provided was adequate. Courts weigh three factors in determining

whether the process provided is adequate: (1) “the private interest that will be affected

by the official action,” (2) “the risk of an erroneous deprivation of such interest through

the procedures used, and the probable value, if any, of additional or substitute procedural

safeguards,” and (3) “the Government’s interest, including the function involved and the

fiscal and administrative burdens that the additional or substitute procedural

requirement would entail.” Mathews v. Eldridge, 424 U.S. 319, 334 (1976).

       Because NUWAY has failed to establish it has a protected interest that could be

erroneously deprived, the Court need not engage in the remaining inquiries. Even so,

DHS did provide some procedures wherein NUWAY could challenge the Notices. DHS

provided NUWAY with advance notice of the temporary payment withholds, and DHS



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gave NUWAY nearly a year to provide written evidence explaining why the temporary

payment withholds should not be effectuated.

       Because it has not established it has a protected interest that was deprived,

NUWAY has not established it has a fair chance of prevailing on the merits of its § 1983

action based on due process violations.

       C.     Other Claims

       NUWAY does not raise likelihood-of-success arguments for its two other causes of

action. NUWAY insists that because the three counts are based on the same core

assertion—that DHS violated NUWAY’s right to due process—NUWAY need only establish

it is likely to succeed on the merits of one claim to obtain a preliminary injunction.

       However, the Court finds that NUWAY has not established it has a fair chance of

succeeding on the merits of its § 1983 action based on due process violations. As for the

remaining claims, DHS argues there is no private right of action for NUWAY to enforce any

provision of the Medicaid statute under § 1983. Cf. Armstrong v. Exceptional Child Ctr.,

575 U.S. 320, 331–32 (2015) (holding providers had no private right of action to enforce

a subsection of the Medicaid Act); Does v. Gillespie, 867 F.3d 1034, 1046 (8th Cir. 2017)

(holding individual patients had no private right of action to enforce the Medicaid Act

under § 1983). Instead, DHS contends that the Centers for Medicare & Medicaid Services

have authority to enforce state compliance with the Medicaid statute or state plan, not

providers. Furthermore, DHS argues the Declaratory Judgment Act does not create a

substantive cause of action, and a declaratory judgment is improper where the underlying
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statute contains no private right of action. Schilling v. Rogers, 363 U.S. 666, 677 (1960)

(“[T]he Declaratory Judgments Act is not an independent source of federal

jurisdiction . . . ; the availability of such relief presupposes the existence of a judicially

remediable right.”); W. Cas. Sur. Co. v. Herman, 405 F.2d 121, 124 (8th Cir. 1968).

        NUWAY does not meaningfully respond to DHS’s arguments. It has therefore not

met its burden in establishing a likelihood of success on the merits of its remaining claims.

See Watkins, 346 F.3d at 844.

III.    THREAT OF IRREPARABLE HARM

        “Irreparable harm occurs when a party has no adequate remedy at law, typically

because its injuries cannot be fully compensated through an award of damages.” Phyllis

Schlafly Revocable Tr. v. Cori, 924 F.3d 1004, 1009 (8th Cir. 2019) (quoting Gen. Motors

Corp. v. Harry Brown’s, LLC, 563 F.3d 312, 319 (8th Cir. 2009)). The movant must

demonstrate that irreparable harm is “likely in the absence of an injunction,” not merely

possible. Hotchkiss v. Cedar Rapids Comm. Sch. Dist., 115 F.4th 889, 893 (8th Cir. 2024)

(quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)).

        There is no denying that the threat of harm is great in this case, primarily to

NUWAY’s patients. NUWAY’s clients, who are extremely vulnerable individuals, could

very well lose access to substance use disorder treatment and housing without NUWAY. 1



        1 NUWAY asserts it has third-party standing to assert irreparable harm for its clients

because of the provider-patient relationship and fact that certain circumstances hinder NUWAY’s
patients from representing themselves. Powers v. Ohio, 499 U.S. 400, 410–11 (1991) (explaining
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However, alternative treatment providers in Minnesota may be able to absorb the

majority, if not all, of NUWAY’s outpatient substance use disorder patients for treatment,

though the effect on their housing is unknown. (Decl. of Jennifer Sather (“Sather Decl.”)

¶ 4, Feb. 15, 2025, Docket No. 24; Decl. of Monique Bourgeois (“Bourgeois Decl.”) ¶¶ 3–

4, Feb. 17, 2025, Docket No. 27.)

       As for itself, NUWAY argues it will likely have to cease its operations altogether

absent Medicaid reimbursement payments. Courts have recognized that being forced

out of business can constitute irreparable harm under certain circumstances. Ryko Mfg.

Co. v. Eden Servs., 759 F.2d 671, 673 (8th Cir. 1985); Semmes Motors, Inc. v. Ford Motor

Co., 429 F.2d 1197, 1205 (2d Cir. 1970). However, DHS is not forcing NUWAY to shut

down; it is merely withholding Medicaid payments, and economic loss alone does not

constitute irreparable harm. Packard Elevator v. I.C.C., 782 F.2d 112, 115 (8th Cir. 1986).

That said, given that 66% of NUWAY’s revenue is generated from its outpatient treatment

program and 90% of those revenues comes from Medicaid-supported payors, NUWAY

will likely struggle to operate without the MHCP reimbursements.

       NUWAY also argues it will suffer professional and reputational harm. NUWAY

contends that “[i]njury to reputation or goodwill is not easily measured in monetary

terms, and so often is viewed as irreparable.” Wright & Miller, 11A Fed. Prac. & Proc. Civ.



when third-party standing is appropriate); Singleton v. Wulff, 428 U.S. 106, 114–18 (1976)
(recognizing abortion providers’ ability to assert the rights of women patients); (see also N.S.
Decl. ¶ 15 (declaring inability to challenge DHS’s decision absent help from NUWAY).)
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§ 2948.1 (3d ed.); see also Med. Shoppe Int’l, Inc. v. S.B.S. Pill Dr., Inc., 336 F.3d 801, 805

(8th Cir. 2003) (finding district court did not clearly err in finding irreparable harm to

reputation and goodwill).      A payment suspension will disrupt—if not dismantle—

NUWAY’s operations and require clients to either seek services from other providers or

else lose access to such services and/or housing altogether. If NUWAY were to recover in

the future, NUWAY is concerned its clients will not likely return because of a loss in trust.

However, NUWAY’s fear about a potential loss of customer goodwill is merely speculative

at this juncture, and though harm to reputation and goodwill is difficult to quantify, the

Eighth Circuit has held that such harm can be compensable through money damages.

Novus Franchising, Inc. v. Dawson, 725 F.3d 885, 895 (8th Cir. 2013). Further, as DHS

argues, any loss of customer goodwill may be attributable to other issues, such as the fact

that NUWAY has been under a DOJ fraud investigation that has been publicized in various

media.

       DHS urges the Court to find that the doctrine of unclean hands forecloses a finding

of irreparable harm. DHS essentially argues that NUWAY created or at least contributed

to the impending crisis before the Court: NUWAY had almost a year to prepare itself and

its clients for a possible loss of Medicaid funding, yet it failed to do so. For example,

NUWAY failed to diversify funding sources, persistently engaged in highly suspect billing

practices for years, increased the number of Medicaid-paying outpatient clients since

receiving the Notices, and failed to cooperate with DHS or provide information to assist


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in avoiding disruption of services to its recipients. (Novak Decl. ¶ 16; Sather Decl. ¶¶ 7–

10.) NUWAY contests these allegations. (Bourgeois Decl. ¶¶ 5–7.)

       While NUWAY could and should have done more to prepare itself and its clients

for the possible loss of Medicaid reimbursement payments, the Court declines to find that

the doctrine of unclean hands forecloses a finding of irreparable harm. The potential

harm to NUWAY’s clients—who are extremely vulnerable individuals—is too great to

ignore.

IV.    BALANCE OF HARMS AND PUBLIC INTEREST

       The remaining Dataphase factors—balance of harms and public interest—merge

when the government opposes injunctive relief. See Nken v. Holder, 556 U.S. 418, 435

(2009). NUWAY restates the threat of irreparable harm to it and its patients and argues

that, even if DHS is able to find substitute treatment providers or housing for its patients,

there will be no benefit to the public fisc because Medicaid will continue to pay for the

medically necessary substance use disorder treatment for which it would have otherwise

reimbursed NUWAY. That may be so, but the difference is that those other providers are

not currently subject to a pending investigation based on a credible allegation of fraud.

The State’s interest in preserving the integrity of the Medicaid program and protecting

the public from fraud is strong. Further, it appears that NUWAY could have and should

have done more to prepare for the impending Medicaid payment freeze. The balance of

harms and public interest factors do not favor granting NUWAY’s request.



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                                      CONCLUSION

       The Dataphase factors, particularly NUWAY’s likelihood of success on the merits,

weigh in favor of the State. The Court is deeply concerned with the plight of NUWAY’s

patients, who may suffer irreparable harm by the temporary payment withholds. But in

the Court’s opinion, NUWAY’s argument that it has a protected interest in the payments

does not have a fair chance of prevailing on the merits given the lack of an explicit

requirement for a contested case hearing. Despite the Court’s belief that a much fairer

process would provide a contested case proceeding before a withholding of payments,

that is not what current law requires. Further, it is difficult to square NUWAY’s alleged

fraud with the State’s interest in preserving the integrity of the Medicaid program and

protecting the public from fraud. The State’s interest is important as well. The Court

encourages a swift resolution of the investigation into alleged fraud which will serve all

interests in the outcome of this dispute. NUWAY’s motion for a TRO and a preliminary

injunction is denied.

                                         ORDER

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Plaintiffs’ Motion for Temporary Restraining Order and

Preliminary Injunction [Docket No. 6] is DENIED.




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LET JUDGMENT BE ENTERED ACCORDINGLY.



DATED: February 25, 2025
at Minneapolis, Minnesota.                     JOHN R. TUNHEIM
                                           United States District Judge




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